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                          IN THE UNITED STATES DISTRICT COURT
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                                 FOR THE DISTRICT OF ARIZONA
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10    The United States of America,
                                                    No. 2:10-cv-1413-PHX-SRB
11                  Plaintiff,
                                                    ORDER EXTENDING TIME TO
12                                                  RESPOND TO DEFENDANTS’
            v.                                      MOTION TO DISMISS
13    The State of Arizona; and Janice K. Brewer,
14    Governor of the State of Arizona, in her
      Official Capacity,
15
16                  Defendants.

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           Upon consideration of the Parties’ Stipulation for an Extension of Time to Respond
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     to Defendants’ Motion to Dismiss, and good cause having been shown, this Court hereby
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     ORDERS that:
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           The Stipulation is GRANTED, and Plaintiff may file its Response to Defendants’
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     Motion to Dismiss on or before August 26, 2010.
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